      Case 3:22-cv-00116-PDW-ARS Document 21 Filed 07/27/22 Page 1 of 5




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

MOREHOUSE ENTERPRISES LLC d/b/a           )
BRIDGE CITY ORDNANCE et al.,              )                Case No. 3:22-cv-00116-PDW-ARS
                                          )
      Plaintiffs,                         )
                                          )
v.                                        )
                                          )
BUREAU OF ALCOHOL, TOBACCO,               )
FIREARMS AND EXPLOSIVES et al.,           )
                                          )
      Defendants.                         )
__________________________________________)

                         REPLY BRIEF IN SUPPORT OF
                  DEFENDANTS’ MOTION FOR EXTENSION OF TIME

       Defendants respectfully submit this reply brief in support of their motion for a 16-day

extension of time until August 24, 2022 to respond to Plaintiffs’ motion for preliminary

injunction.

       1.      The purpose of Defendants’ requested extension is to allow them the time

necessary to provide the Court with helpful briefing instead of rushed filings that fail to

adequately address relevant issues. Defendants need this additional time because of major

scheduling conflicts during the next two weeks, most notably preparing for and traveling to a

preliminary injunction hearing on August 9 in a parallel action challenging the Rule at issue here,

Division 80 v. Garland, No. 3:22-cv-00148 (S.D. Tex.), and taking a deposition in the Division

80 action on August 2. The best way to allow the Court to receive informative briefs is to allow

Defendants the time they need to research, draft, and obtain the necessary supervisory review

before filing them. A 16-day extension of time is a reasonable time period to allow Defendants

to adequately respond to the issues raised in Plaintiffs’ motion.




                                                 1
      Case 3:22-cv-00116-PDW-ARS Document 21 Filed 07/27/22 Page 2 of 5




       2.      On the other side of the balance, Plaintiffs waited months after ATF issued the

final rule to file their preliminary injunction motion and now oppose Defendants’ motion for a

reasonable opportunity to respond to that motion. Despite the organizational plaintiff’s

admission that it has “known that [the challenged Rule] was coming, since [ATF] announced this

rule as a proposed rule back in May of 2021,” see Mot. at 2 & n.1, Plaintiffs did not act in a

manner reflective of a party facing a true emergency.

       3.      The facts do not support Plaintiffs’ arguments for opposing Defendants’ request

for an extension of time. Any contention that Plaintiffs could not have filed their complaint and

motion for preliminary injunction before now is fatally undermined by the fact that the plaintiff

in the parallel Texas case filed suit challenging this Rule in early May 2022, and moved for a

preliminary injunction in early June. See Division 80 v. Garland, No. 3:22-cv-00148, ECF Nos.

1 (Compl., May 9, 2022), 11 (Emergency Mot. for Prelim. Injunction, June 6, 2022). This

diligence allowed for a reasonable briefing schedule, including a comparable extension to what

Defendants are requesting here to respond to the motion for preliminary injunction, that

concluded well before the Rule’s effective date.

       4.      Furthermore, Plaintiffs are the masters of their complaint and of the motions they

file, and thus decide precisely which issues will be litigated in this case (in general) and in their

motion for preliminary injunction (more specifically). Thus, Defendants had no way of knowing

exactly which arguments Plaintiffs would make in their preliminary injunction motion until

Plaintiffs filed it on Monday. By contrast, Plaintiffs have provided no compelling explanation

for why they should be permitted fifteen months after the proposed rule was issued, three months

after the final rule was issued, and nearly three weeks after the filing of their complaint, to file a




                                                   2
      Case 3:22-cv-00116-PDW-ARS Document 21 Filed 07/27/22 Page 3 of 5




preliminary injunction motion, but Defendants—facing substantial time commitments and

conflicts—should be allowed only 14 days to respond.

       5.      Similarly, the existence of the Division 80 case does not alleviate Defendants’

burden. Although both this case and Division 80 involve challenges to the Rule, the cases have

not been consolidated, are not identical, and involve both different arguments and the law of

different Circuits. Thus, the mere fact that Defendants have responded to a preliminary

injunction motion in Division 80 does not significantly lighten their burden of drafting and filing

an opposition to Plaintiffs’ motion. Any contrary contention implies that Plaintiffs should have

been able to file their own preliminary injunction motion much more expeditiously instead of

taking almost two additional months after the Division 80 motion had been filed.

       6.      Nor, contrary to Plaintiffs’ contention, are Defendants requesting additional time

as a pretext to file their response after the effective date of the Rule. That is an unavoidable

consequence of Plaintiffs having waited to file their motion for preliminary injunction less than a

month before the Rule is scheduled to go into effect. It was Plaintiffs’ prerogative to choose to

file their motion shortly before the Rule takes effect, but they cannot contend on that basis that

reasonable time extensions cannot be granted because of the emergency they themselves created.

       7.      Moreover, when Defendants informed Plaintiffs that they would not be able to

adequately prepare a response to the preliminary injunction motion by August 8 because of their

preparations for the Division 80 preliminary injunction hearing on August 9, Plaintiffs refused to

agree to any extension of time for Defendants. Plaintiffs were well aware of the timeline of the

Division 80 case, as their opposition brief demonstrates. Regardless, Plaintiffs continue to

oppose allowing a reasonable time to respond to the preliminary injunction motion, now

conditioning any such allowance on “stipulat[ing] to this Court’s entry of a Preliminary



                                                 3
      Case 3:22-cv-00116-PDW-ARS Document 21 Filed 07/27/22 Page 4 of 5




Injunction.” Opp. at 6. Principles of basic fairness should not allow a party to so leverage the

unavoidable scheduling conflicts of an opposing party to its advantage.

       8.      Plaintiffs also provide no support for the assertion that their preliminary

injunction motion will be moot after the effective date of the Rule. Absent such a showing,

Plaintiffs fail to demonstrate any compelling need for the completion of briefing and for the

Court to hold a hearing and issue a decision on Plaintiffs’ motion before that date.

       9.      “A preliminary injunction is an extraordinary and drastic remedy[.]” Munaf v.

Green, 553 U.S. 674, 689 (2008) (citation omitted). Because “[p]reliminary injunctions are

generally granted under the theory that there is an urgent need for speedy action to protect the

plaintiffs’ rights,” any “[d]elay in seeking enforcement of those rights . . . tends to indicate at

least a reduced need for such drastic, speedy action.” TrueNorth Companies v. TruNorth

Warranty Plans of N. Am., 353 F. Supp. 3d 788, 804 (N.D. Iowa 2018) (citation omitted); see

also Seiko Kabushiki Kaisha v. Swiss Watch Int’l, 188 F. Supp. 2d 1350, 1356 (S.D. Fla. 2002)

(denying preliminary injunction, inter alia, because three-month delay between plaintiff’s last

communication with defendants and filing of suit “undercuts any sense of urgency”); Blue-Grace

Logistics LLC v. Fahey, 340 F.R.D. 460, 467 (M.D. Fla. 2022) (noting that “many courts

typically decline to grant preliminary injunctions in the face of unexplained delays of more than

two months”) (citation and internal punctation omitted). The fact that Plaintiffs waited so long to

move for a preliminary injunction is strong evidence that they will not be prejudiced if

Defendants’ motion for extension of time is granted.

       Defendants therefore respectfully request that the Court grant their motion for a 16-day

extension of time, through and including August 24, 2022, to respond to Plaintiffs’ motion for

preliminary injunction.



                                                  4
     Case 3:22-cv-00116-PDW-ARS Document 21 Filed 07/27/22 Page 5 of 5




Dated: July 27, 2022              Respectfully submitted,



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